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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                                 SAN FRANCISCO DIVISION

 3
   JULIA JUNGE and RICHARD JUNGE, on                     Case No. 3:20-cv-00547-WHA (DMR)
 4 behalf of themselves and a class of similarly
   situated investors,                                   Class Action
 5
                       Plaintiffs,                       (Consolidated with Case No. 3:20-cv-
 6                                                       01163-WHA)
           v.
 7                                                       (Related to Case No. 3:20-cv-02823-WHA;
   GERON CORPORATION and JOHN A.                         3:22-mc-80051-WHA)
 8 SCARLETT,
                                                         [PROPOSED] JUDGMENT
 9                      Defendants.                      APPROVING CLASS ACTION
                                                         SETTLEMENT
10

11           WHEREAS, a consolidated securities class action is pending in this Court captioned Julia
12 Junge and Richard Junge v. Geron Corporation and John A. Scarlett, Case No. 3:20-cv-00547-

13 WHA (the “Action”)1;

14           WHEREAS, by Order dated April 2, 2022, the Court certified the Action to proceed as a
15 class action on behalf of all persons who purchased Geron Corporation (“Geron”) common stock

16 during the period from March 19, 2018, to September 26, 2018, inclusive (the “Class Period”), and

17 who were damaged thereby,2 appointed Lead Plaintiffs Julia Junge and Richard Junge as Class

18
     1
19    The Court’s docket reflects the case name as Tollen v. Geron Corp. et al, Case No. 3:20-cv-00547-
     WHA, which was amended by Lead Plaintiffs. (ECF Nos. 92, 103.)
20   2
     Excluded from the Class by definition are the Defendants, directors and officers of Geron, and
21 their Families and affiliates. Also excluded from the Class are: (i) the persons and entities who
   excluded themselves by submitting a request for exclusion from the Class by July 22, 2022, or whose
22 late notice to be excluded from the Class has been accepted by the Court, in connection with the
   Original Class Notice (as set forth on Appendix 1 to the Stipulation); and (ii) any persons or entities
23
   who exclude themselves by submitting a request for exclusion in connection with the Settlement
24 Notice or Supplemental Settlement Notice. A complete list of exclusions reported to the Court as
   timely received as of March 9, 2023, by Epiq Claims and Class Solutions (“Epiq”), the Claims
25 Administrator appointed by the Court, one request filed as ECF No. 264, and all additional requests
   for exclusion received by Epiq, and reported to the Court in advance of the August 24, 2023
26 Settlement Fairness Hearing (in response to the Supplemental Settlement Notice), is attached at
   Appendix 1 to this Judgment. Phillip Tougas and Patricia O’Grady, who excluded themselves from
27
   the Class in response to the Original Class Notice, and were identified at numbers 68 and 75 on the
28 Appendix 1 to the Stipulation (ECF No. 247, at 38 of 38), have since submitted a Proof of Claim

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 1 Representatives for the Class, and appointed Lead Counsel Kaplan Fox & Kilsheimer LLP (“Kaplan

 2 Fox”) as Class Counsel for the Class;

 3          WHEREAS, by Order dated May 3, 2022, the Court approved the proposed form and content

 4 of the Original Class Notice to be disseminated to the Class Members to notify them of, among other

 5 things: (i) the Action pending against Defendants; (ii) the Court’s certification of the Action to

 6 proceed as a class action on behalf of the Class; and (iii) their right to request to be excluded from

 7 the Class by July 22, 2022, the effect of remaining in the Class or requesting exclusion, and the

 8 requirements for requesting exclusion;

 9          WHEREAS, the Original Class Notice was mailed beginning on May 23, 2022, to all

10 potential Class Members who could be identified through reasonable effort, resulting in the mailing

11 of over 116,079 copies of the Original Class Notice, and 74 requests for exclusion representing

12 81 individuals were reported as received by Epiq Class Action and Claims Solutions, Inc. at the time

13 of entry of the Stipulation;

14          WHEREAS, (a) Julia Junge and Richard Junge (“Lead Plaintiffs” and “Class

15 Representatives”), on behalf of themselves and the Class; and (b) defendants Geron and Dr. John A.

16 Scarlett (“Dr. Scarlett,” and together with Geron, “Defendants,” and together with Lead Plaintiffs,

17 the “Parties”) have entered into a Stipulation and Agreement of Settlement dated September 2, 2022

18 (the “Stipulation”), that provides for a complete dismissal with prejudice of the claims asserted

19 against Defendants in the Action on the terms and conditions set forth in the Stipulation, subject to

20 the approval of this Court (the “Settlement”);

21          WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall

22 have the same meaning as they have in the Stipulation;

23          WHEREAS, by Order dated October 13, 2022 (the “Preliminary Approval Order”), and the

24 October 17, 2022, Order Setting Schedule in Advance of March 30, 2023, Settlement Fairness

25 Hearing (ECF Nos. 253 and 259), this Court: (a) preliminarily approved the Settlement; (b) ordered

26 that notice of the proposed Settlement be provided to Class Members; and (c) scheduled a hearing

27

28 and Release Form in connection with the Settlement, and therefore, are deemed to have withdrawn
   their respective exclusion requests.
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 1 regarding final approval of the Settlement;

 2          WHEREAS, due and adequate notice has been given to the Class;

 3          WHEREAS, the Court conducted hearings on March 30, 2023, at 11:00 a.m. Pacific Time

 4 (the “Settlement Fairness Hearing”) and on August 24, 2023, at 1:30 p.m. Pacific Time (the “Second

 5 Settlement Fairness Hearing”) to consider, among other things, (a) whether the terms and conditions

 6 of the Settlement are fair, reasonable, and adequate to the Class, and should therefore be approved;

 7 and (b) whether a judgment should be entered dismissing the Action with prejudice as against the

 8 Defendants; and

 9          WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and

10 proceedings held herein in connection with the Settlement, all oral and written comments received

11 regarding the Settlement, and the record in the Action, and good cause appearing therefor;

12          IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

13          1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action, and

14 all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and each

15 of the Class Members.

16          2.      Incorporation of Settlement Documents – This Judgment incorporates and makes
17 a part hereof: (a) the Stipulation filed with the Court on September 2, 2022; and (b) the Settlement

18 Notice, the Summary Settlement Notice and the Supplemental Settlement Notice.

19          3.      Notice – The Court finds that the dissemination of the Settlement Notice, the
20 Supplemental Settlement Notice and the publication of the Summary Settlement Notice and

21 Supplemental Settlement Notice: (a) were implemented in accordance with the Preliminary

22 Approval Order; (b) constituted the best notice practicable under the circumstances; (c) constituted

23 notice that was reasonably calculated, under the circumstances, to apprise Class Members of (i) the

24 effect of the proposed Settlement (including the Releases to be provided thereunder); (ii) Lead

25 Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses; (iii)

26 their right to object to any aspect of the Settlement, the Plan of Allocation, and/or Lead Counsel’s

27 motion for attorneys’ fees and reimbursement of Litigation Expenses; and (iv) their right to appear

28 at the Settlement Fairness Hearing and/or Second Settlement Fairness Hearing; (d) constituted due,

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 1 adequate, and sufficient notice to all persons and entities entitled to receive notice of the proposed

 2 Settlement; and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure,

 3 the United States Constitution (including the Due Process Clause), the Private Securities Litigation

 4 Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules.

 5          4.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in

 6 accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby fully and finally

 7 approves the Settlement set forth in the Stipulation in all respects (including, without limitation: the

 8 amount of the Settlement; the Releases provided for therein; and the dismissal with prejudice of the

 9 claims asserted against Defendants in the Action), and finds that the Settlement is, in all respects,

10 fair, reasonable, and adequate to the Class. The Parties are directed to implement, perform, and

11 consummate the Settlement in accordance with the terms and provisions contained in the

12 Stipulation.

13          5.      The Action and all of the claims asserted against Defendants in the Action by Lead
14 Plaintiffs and the other Class Members are hereby dismissed with prejudice. The Parties shall bear

15 their own costs and expenses, except as otherwise expressly provided in the Stipulation.

16          6.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever
17 binding on Defendants, Lead Plaintiffs and all other Class Members (regardless of whether or not

18 any individual Class Member submits a Claim Form or seeks or obtains a distribution from the Net

19 Settlement Fund), as well as their respective successors and assigns. A list of potential Class

20 Members requesting exclusion as of March 9, 2023 and as of July 14, 2023 (in accordance with the

21 Supplemental Settlement Notice), according to the records of the Claims Administrator, as well as

22 one request filed as ECF No. 264, is set forth in Appendix 1 hereto.

23          7.      Releases – The Releases set forth in paragraphs 4 and 5 of the Stipulation, together
24 with the defined terms contained in the Stipulation, are expressly incorporated herein in all respects.

25 The Releases are effective as of the Effective Date. Accordingly, this Court orders that:

26                  (a)     Without further action by anyone, and subject to paragraph 8 below, upon the
27 Effective Date of the Settlement, Lead Plaintiffs and each of the other Class Members, on behalf of

28 themselves, shall be deemed to have, and by operation of law and of this Judgment shall have, fully,

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 1 finally, and forever compromised, settled, released, resolved, relinquished, waived, and discharged

 2 any and all of the Released Plaintiffs’ Claims against Defendants and Defendants’ Released Parties,

 3 whether or not such Class Member executes and delivers a Claim or objects to the Settlement, and

 4 shall forever be barred and enjoined from prosecuting, commencing, instituting, or continuing to

 5 prosecute any action or other proceeding in any court of law or equity, arbitration tribunal, or

 6 administrative forum, asserting any or all of the Released Plaintiffs’ Claims against any of the

 7 Defendants’ Released Parties. This Release shall not apply to any of the Excluded Plaintiffs’ Claims

 8 (as that term is defined in paragraph 1(qq) of the Stipulation).

 9                 (b)     Without further action by anyone, and subject to paragraph 8 below, upon the

10 Effective Date of the Settlement, Defendants, on behalf of themselves, and their Related Parties,

11 shall be deemed to have, and by operation of law and of this Judgment shall have, fully, finally, and

12 forever compromised, settled, released, resolved, relinquished, waived, and discharged any and all

13 Released Defendants’ Claims against Lead Plaintiffs and Plaintiffs’ Released Parties, and shall

14 forever be barred and enjoined from prosecuting, commencing, instituting, or continuing to

15 prosecute any action or other proceeding in any court of law or equity, arbitration tribunal, or

16 administrative forum, asserting any or all of the Released Defendants’ Claims against any of the

17 Plaintiffs’ Released Parties. This Release shall not apply to any of the Excluded Defendants’ Claims

18 (as that term is defined in paragraph 1(pp) of the Stipulation).

19                 (c)     No person or entity shall have any claim against Lead Plaintiffs, Lead

20 Counsel, the Claims Administrator, or any other agent designated by Lead Counsel, or Defendants’

21 Released Parties and/or their respective counsel, arising from distributions made substantially in

22 accordance with the Stipulation, the Plan of Allocation approved by the Court, or any order of the

23 Court. Lead Plaintiffs and Defendants, and their respective counsel, and all other Releasees shall

24 have no liability whatsoever for the investment or distribution of the Settlement Fund, or the Net

25 Settlement Fund, the Plan of Allocation, or the determination, administration, calculation, or

26 payment of any claim or nonperformance of the Claims Administrator, the payment or withholding

27 of taxes (including interest and penalties) owed by the Settlement Fund, or any losses incurred in

28 connection therewith.

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 1          8.      Notwithstanding paragraphs 7(a) – (c) above, nothing in this Judgment shall bar any

 2 action by any of the Parties to enforce or effectuate the terms of the Stipulation or this Judgment.

 3          9.      Rule 11 Findings – The Court finds and concludes that the Parties and their

 4 respective counsel have complied in all respects with the requirements of Rule 11 of the Federal

 5 Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement of

 6 the Action.

 7          10.     No Admissions – Neither this Judgment, the Term Sheet, the Stipulation (whether
 8 or not consummated), including the exhibits thereto and the Plan of Allocation contained therein (or

 9 any other Plan of Allocation that may be approved by the Court), the negotiations leading to the

10 execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in

11 connection with the Term Sheet, the Stipulation, and/or approval of the Settlement (including any

12 arguments proffered in connection therewith):

13                  (a)     shall be offered against any of the Defendants’ Released Parties as evidence
14 of, or construed as, or deemed to be evidence of any presumption, concession, or admission by any

15 of the Defendants’ Released Parties with respect to the truth of any fact alleged by Lead Plaintiffs

16 or the validity of any claim that was or could have been asserted or the deficiency of any defense

17 that has been or could have been asserted in this Action or in any other litigation, or of any liability,

18 negligence, fault, or other wrongdoing of any kind of any of the Defendants’ Released Parties or in

19 any way referred to for any other reason as against any of the Defendants’ Released Parties, in any

20 arbitration proceeding or other civil, criminal, or administrative action or proceeding, other than

21 such proceedings as may be necessary to effectuate the provisions of the Stipulation;

22                  (b)     shall be offered against any of the Plaintiffs’ Released Parties, as evidence
23 of, or construed as, or deemed to be evidence of any presumption, concession, or admission by any

24 of the Plaintiffs’ Released Parties that any of their claims are without merit, that any of the

25 Defendants’ Released Parties had meritorious defenses, or that damages recoverable under the

26 Amended Complaint would not have exceeded the Settlement Amount or with respect to any

27 liability, negligence, fault, or wrongdoing of any kind, or in any way referred to for any other reason

28 as against any of the Plaintiffs’ Released Parties, in any arbitration proceeding or other civil,

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 1 criminal, or administrative action or proceeding, other than such proceedings as may be necessary

 2 to effectuate the provisions of the Stipulation; or shall be construed against any of the Releasees as

 3 an admission, concession, or presumption that the consideration to be given under the Settlement

 4 represents the amount that could be or would have been recovered after trial;

 5                  (c)     provided, however, that the Parties and the Releasees and their respective

 6 counsel may refer to this Judgment and the Stipulation to effectuate the protections from liability

 7 granted hereunder and thereunder or otherwise to enforce the terms of the Settlement. Defendants’

 8 Released Parties may file the Stipulation and/or this Judgment in any other action that may be

 9 brought against them in order to support a defense or counterclaim based on principles of res

10 judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction, or any theory

11 of claim preclusion or issue preclusion or similar defense or counterclaim.

12          11.     Retention of Jurisdiction – Without affecting the finality of this Judgment in any

13 way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of the

14 administration, interpretation, implementation, and enforcement of the Settlement; (b) the

15 disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or Litigation

16 Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any motion

17 to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and (f) the

18 Class Members for all matters relating to the Action.

19          12.     Separate orders shall be entered regarding approval of a Plan of Allocation and the
20 motion of Lead Counsel for an award of attorneys’ fees and reimbursement of Litigation Expenses.

21 Such orders shall in no way affect or delay the finality of this Judgment and shall not affect or delay

22 the Effective Date of the Settlement.

23          13.     Modification of the Agreement of Settlement – Without further approval from the
24 Court, Lead Plaintiffs and Defendants are hereby authorized to agree to and adopt such amendments

25 or modifications of the Stipulation or any exhibits attached thereto to effectuate the Settlement that:

26 (a) are not materially inconsistent with this Judgment; and (b) do not materially limit the rights of

27 Class Members in connection with the Settlement. Without further order of the Court, Lead

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 1 Plaintiffs and Defendants may agree to reasonable extensions of time to carry out any provisions of

 2 the Settlement.

 3          14.    Termination of Settlement – If the Settlement is terminated as provided in the

 4 Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be

 5 vacated, rendered null and void, and be of no further force and effect, except as otherwise provided

 6 by the Stipulation, and this Judgment shall be without prejudice to the rights of Lead Plaintiffs, the

 7 other Class Members, and Defendants, and the Parties shall revert to their respective positions in

 8 the Action immediately prior to the execution of the Term Sheet on August 19, 2022, as provided

 9 in the Stipulation.

10          15.    Entry of Final Judgment – There is no just reason to delay the entry of this
11 Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

12 directed to immediately enter this final judgment in this Action.

13

14                             3rd
            SO ORDERED this _________            October
                                      day of __________________, 2023.
15

16 DATED: October 3, 2023
                                                                HON. WILLIAM ALSUP
17                                                           UNITED STATES DISTRICT JUDGE
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 1                                         Appendix 1

 2                                    List of Exclusions

 3   Name                                    City              State
     1.   Kimberly A Bourque                 Carlisle          PA
 4   2.   Calvin Hackley                     Upper Marlboro    MD
     3.   Thomas J Pizzuto and Thomas J.     Malvern           PA
 5        Pizzuto IRA and Thomas J.
 6        Pizzuto Roth IRA
     4.   Susan Rothstein Schwimmer         New York           NY
 7   5.   Wesley Le                         Escondido          CA
     6.   Arpiben Shah                      Deer Park          NY
 8   7.   Arthur Groome                     Heath              TX
     8.   Richard H Ronan                   Newark             OH
 9
     9.   Sam Karhbet                       Lafayette          LA
10   10.  Robert W Hutchinson               Reading            PA
     11.  Marco Tiberii                     Charlton           MA
11   12.  Danny Charbonneau                 Canton             TX
     13.  Igor Maksymyuk                    Irvine             CA
12   14.  Sudipto Mondal                    Saint Paul         MN
     15.  Tammy Davis                       New Waterford      OH
13
     16.  Ansamma Saju Paul                 Philadelphia       PA
14   17.  Bruce A Sanders (Retail Acct)     Marietta           GA
     18.  Matthew F Sanders (Roth IRA)      Marietta           GA
15   19.  Donna L Sanders                   Marietta           GA
     20.  Joseph M Moscogiuri               Toms River         NJ
16   21.  Darryl J Wolff                    Cape Coral         FL
     22.  Deborah E Wolff                   Cape Coral         FL
17
     23.  Amanda K Wolff                    Cape Coral         FL
18   24.  Ashley Hettinger                  Cedar Rapids       IA
     25.  Jacob Cunningham                  Kansas City        KS
19   26.  Franklin Hare                     Sterling Heights   MI
     27.  Edward Bonde                      King of Prussia    PA
20   28.  Bob Flick                         Crandall           TX
     29.  Javad Vahidi                      Los Angeles        CA
21
     30.  Howard B Brown                    Hiawassee          GA
22   31.  Andrew Shatley                    Bear               DE
     32.  Hanford Quock                     Castro Valley      CA
23   33.  Dale Newell                       Hamburg            NY
     34.  Timothy A Fram                    Lowell             MA
24   35.  Gregory D Isaac                   Parma              MI
25   36.  Iris L Sun                        Foster City        CA
     37.  David A Griffin                   Stoughton          MA
26   38.  Charles D Carter                  Carrollton         OH
     39.  Sandra L Hoffman                  Temperance         MI
27   40.  Youngwon Hahn                     Everett            WA
     41.  Jason Baker                       Raleigh            NC
28   42.  Tyler Coleman                     Whitmore Lake      MI

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 1   43.   Shahram Safavi                   San Diego          CA
     44.   Keith Shuster                    Swedesboro         NJ
 2   45.   Alex Amor                        Eagan              MN
     46.   Demetrios Liaros                 Bradenton          FL
 3
     47.   Robert Stupar                    Chicago            IL
 4   48.   William Stupar                   Chicago            IL
     49.   William Charles Waldrop          Goochland          VA
 5   50.   Janet Lavonne Little             Cedar Bluff        VA
     51.   Sanders Saint Jour               Brooklyn           NY
 6   52.   Carol Bratton                    Aptos              CA
 7   53.   Steven A Demarest                Davie              FL
     54.   Sherri L Despiegler              Davie              FL
 8   55.   Daniel Ruihan Qi                 Orlando            FL
     56.   Matt Fina                        Cary               IL
 9   57.   Preston Jones                    Grand Prairie      TX
     58.   Alexander Dietl                  Ithaca             NY
10   59.   Tony Russo                       Hueytown           AL
11   60.   Christopher Szoly                Rocky River        OH
     61.   Maurice L Bakke and Maurice L.   Gainesville        VA
12         Bakke Single Account and
           Maurice L. Bakke and Mary
13         Bakke JTWROS
     62.   Mary Bakke                       Gainesville        VA
14   63.   Monty Milne                      Phoenixville       PA
15   64.   Duan Zhang                       Bristol            CT
     65.   Alvin Laohapant                  Silver Spring      MD
16   66.   Michael Hardwick (deceased)      Aiken              SC
     67.   Patricia W Hardwick (executor)   Aiken              SC
17   68.   Spencer Wu                       Henderson          NV
     69.   Varghese Xavier                  Floral Park        NY
18   70.   Alan Lauver
19   71.   Matthew Stratton                 Anderson           SC
     72.   Piotr Niedzwiedz                 Orlando            FL
20   73.   Ron Brockway                     Medina             OH
     74.   Gary Cornell Woolridge           Smith’s Parish     Bermuda
21   75.   Charles B VonCanon III           Mooresville        NC
     76.   McKayla Pate                     Lovettsville       VA
22
     77.   Chad Allie                       Frisco             TX
23   78.   George Brodbeck                  Berkeley           Australia
     79.   Carl J Frank                     Osceola            WI
24   80.   Aaron Kurjan                     Traverse City      MI
     81.   Subrina Chowtie                  Towson             MD
25   82.   Erin Bramer Landtroop            Dripping Springs   TX
     83.   Daniel Targonski                 Maspeth            NY
26
     84.   Timothy Townsend-Gant Sr         Portland           OR
27   85.   Kimbarlie Zimmerman              Brooklyn Park      MN
     86.   Matthew Johnson                  Altoona            PA
28   87.   Andrew Indovina                  Fairport           NY

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 1   88.    Shaila Sadia                     Sterling          VA
     89.    Seth Schiffbauer                 Phoenix           AZ
 2   90.    Stephanie Gray                   Goldsboro         NC
     91.    Victoria Stubbs                  Laurel            MD
 3
     92.    Shane Forler                     Wilmington        NC
 4   93.    Cagri Yenigun                    Savoy             IL
     94.    Sarah Virden                     Ormond Beach      FL
 5   95.    Jerry Holick                     Plano             TX
     96.    Pietro Hassan Geroli             Montreal          Canada
 6   97.    Alex Hernandez-Hualde            Virginia Beach    VA
 7   98.    David Lee                        Pasadena          CA
     99.    Larry W Riley                    Port St Lucie     FL
 8   100.   Mary C Riley                     Port St Lucie     FL
     101.   Lim Hock Thong                                     Singapore
 9   102.   Lee Sok Cheng                                      Singapore
     103.   Ryan Jentz
10   104.   James Marcus                     Franklin Lakes    NJ
11   105.   Ranjith Kumar Chilumuru          O’Fallon          MO
     106.   Mark A AuBuchon                  Marysville        WA
12   107.   Christopher Moraal               Natick            MA
     108.   Ryan Hubler                      Aberdeen          NJ
13   109.   Andrew Morris                    Minneapolis       MN
     110.   Gil Huggins                      Seneca            SC
14   111.   Henry R. Darlington              Tempe             AZ
15   112.   Stanley R. Riddell               Sammamish         WA
     113.   Richard B. Smith                 York              PA
16   114.   Katie Bielecki
     115.   Todd Ousley                      Riverview         FL
17   116.   Robert Jones                     Dixon             IL
     117.   Gordon Blair                     Williamsburg      VA
18   118.   Glenn Shepherd                   Laverock          PA
19   119.   Therese Roth                     Nyack             NY
     120.   Beverly Ann Hutchins             Brunswick         ME
20   121.   Garry Barber
     122.   Rasha Abedi Shekib Ahmad         Charlottesville   VA
21   123.   Ollie Winston Coggin IV
     124.   R. Sundaramoorthi
22
     125.   Mark Larrabee IRA and Mark
23          Larrabee and Kasey Larrabee      Southington       CT
            Joint Brokerage Account
24   126.   Jesus Almaguer
     127.   Thomas Brueck                    Northvale         NJ
25   128.   David John Hobbs (deceased)      Queensland        Australia
            Matthew David Smith (executor)   Queensland        Australia
26
     129.   Tracey Fligg                     Tiffin            IA
27   130.   Noah J. Simmons                  Lodi              OH

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